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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             Case No. 8:04CR463
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )                     ORDER
                                               )
RANDY R. BOWLEY,                               )
                                               )
                       Defendant.              )


       IT IS ORDERED that, pursuant to defendant's oral motion for a continuance, and
after a telephonic conference with the attorneys in this case, the change of plea for the
defendant is rescheduled before the undersigned in Courtroom No. 3, Third Floor, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on July 13, 2005, at 2:00 p.m.
Since this is a criminal case, the defendant shall be present, unless excused by the court. If an
interpreter is required, one must be requested by the plaintiff in writing five (5) days in advance of
the scheduled hearing.
       The ends of justice will be served by granting the defendant's request for a continuance in
order to complete plea agreement negotiations, and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising from the change of plea date to the newly
scheduled date, namely, June 28, 2005, through July 13, 2005, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act, for the reason that
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case, and the failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 24th day of June, 2005.
                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
